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                             Exhibit B


                       Fee and Expense Detail
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                                                               Staff Summary

                                                                                                                 Total Hours on
Name of Professional     Position, State of Admission to Practice, Year Licensed   Hourly Rate   Effective Rate Invoice             Total Fees
Matthew S. Okin          Partner, Texas 1992                                             $675/hr         $675/hr              111.6   $75,330.00
Ryan A. O'Connor         Associate, Texas 2015                                           $400/hr         $400/hr              213.1   $85,240.00
Bridget A. Moore         Legal Assistant                                                 $140/hr         $140/hr                  7       $980.00
                                                                                                          TOTALS              331.7 $161,550.00
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                                                     Fee Summary

Description                                                   Hours           Blended Rate             Billed Amount
B110--Case Administration                                              69.3                  $471/hr          $32,637.50
B120--Asset Analysis and Recovery                                      26.2                  $508/hr          $13,312.50
B130--Asset Disposition                                                83.8                  $460/hr          $38,580.00
B160--Fee/Employment Applications                                      52.7                  $437/hr          $23,032.50
B170--Fee/Employment Objections                                         3.9                  $456/hr           $1,780.00
B185--Assumption/Rejection of Leases and Contracts                      1.1                  $400/hr             $440.00
B210--Business Operations                                              43.6                  $548/hr          $23,902.50
B230--Financing/Cash Collateral                                        49.7                  $549/hr          $27,305.00
B240--Tax Issues                                                        0.2                  $400/hr              $80.00
B310--Claims Administration                                             1.2                  $400/hr             $480.00
                                                     TOTALS           331.7                  $487/hr         $161,550.00
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                         Expense Summary

Description                                       Billed Amount
E101--In House Copying                                      $12.50
E106--Online Research                                      $191.97
E108--Postage                                                $8.59
                                           TOTALS          $213.06
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                                                                                             B110 -- Case Administration


Code   Date    Staff   Description                                                                                                                                                           Hours         Rate       Billed Amount

                       Discuss appointment as CRO with D. Brickley and begin reviewing order lifting stay (.7); discuss new engagement with R. O'Connor and begin list of to do items to
B110   09/30/21 MSO    get up to speed in case (.4); telephone conference with E. Seitz regarding new matters and work to be done (.6); follow-up discussion with D. Brickley (.3)                    2     $675/hr       $1,350.00
                       Review and analyze email correspondence and attachment from M. Okin re: CRO Order and conference call to discuss transition issues (.4); Exchange emails w/
B110   09/30/21 RAO    M. Okin re: same (.2); Review Court’s docket re: 9/30 hearing and pending pleadings and draft email to M. Okin re: same (.3);                                                 0.9    $400/hr        $360.00
B110   10/01/21 BAM    Download and save MWE shared documents                                                                                                                                        0.5    $140/hr         $70.00

                       Prepare for and participate in teleconference with client, lender's counsel and possible management company regarding possible management contract and
                       other immediate issues to address (1.2); email discussion with M. McClure regarding call to discuss case status (.5); arrange for download and review of
B110   10/01/21 MSO    documents produced to MWE (.4); telephone call with counsel to GF Management regarding bankruptcy specific issues and terms of management agreement (.5)                      2.6    $675/hr       $1,755.00

                       Prepare for and attend conference call w/ Lenders counsel, Claro, and Management Co. re: transition to CRO, hotel management issues, and bankruptcy strategy
                       issues (1.0); Review and analyze various email correspondence from M. Okin and M. McClure re: CRO transition issues and Debtor cooperation (.4); Review and
                       analyze various email correspondence from Lender counsel and Claro team re: transition issues and document production (.6); Exchange emails w/ M. Okin and
B110   10/01/21 RAO    B. Moore re: doc production and review (.3); Conduct Lexis research re: Hotel and management contact and exchange emails w/ B. Roman re: same (.4);                           2.7    $400/hr       $1,080.00
B110   10/04/21 BAM    Save MWE transcripts and upload to NetDocs                                                                                                                                    0.4    $140/hr          $56.00
                       Begin review of hearing transcripts and other items from the docket to familiarize myself with facts of case (.6); telephone conference with M. McClure regarding
B110   10/04/21 MSO    status of case and items to be transitioned (.6)                                                                                                                              1.2    $675/hr        $810.00
                       Begin document review of hearing transcripts, bank account statements, and budgets (3.8); Review and analyze various email correspondence from M. Okin, D.
B110   10/04/21 RAO    Brickley, C. Tyler and M. McClure re: transition call, compliance w/ CRO Order, bank account issues, and related items (.9);                                                  4.7    $400/hr       $1,880.00
                       Telephone conference with D. Brickley regarding C. Tyler refusal to comply with court order and discussions with Chase (.5); email counsel for JPMC regarding
                       compliance with order (.2); review and approve OA notices of appearance (.2); email correspondence with Claro and M. McClure regarding compliance (.3); email
                       with Court regarding emergency status conference and discuss with R. O'Connor (.2); email M. McClure regarding reasons for status conference and
B110   10/05/21 MSO    communications with C. Tyler (.2); emails with E. Seitz and C. Gibbs regarding status conference and control of bank accounts (.3)                                            1.9    $675/hr       $1,282.50
                       Draft notice of appearance for R. O’Connor and notice of appearance for M. Okin and confer w/ B. Moore re: filing same (.8); Review and analyze various email
                       correspondence from M. Okin, M. McClure, D. Brickley, and C. Tyler re: emergency status conference, bank account issues, and transition items (.6); Additional
                       phone and email correspondence w/ M. Okin and Court chambers re: same (.3); Review and analyze additional emails from M. Okin and E. Seitz re: case update
B110   10/05/21 RAO    and status conference issues (.2);                                                                                                                                            1.9    $400/hr        $760.00
                       Telephone conference with D. Brickley regarding status of bank account issue and other operational items (.5); follow-up email with Court regarding status
                       conference and further email discussion with M. McClure about reason for continued need for status conference (.4); review D. Brickley email to C. Tyler and
B110   10/06/21 MSO    comment (.3); discuss status with E. Seitz (.3)                                                                                                                               1.5    $675/hr       $1,012.50
                       Review and analyze various email correspondence from D. Brickley, C. Tyler, M. Okin and M. Cleveland re: bank account issues and emergency status conference
B110   10/06/21 RAO    (.6);                                                                                                                                                                         0.6    $400/hr        $240.00
B110   10/07/21 BAM    Research and create service list labels                                                                                                                                         1    $140/hr        $140.00
                       Email discussion with Court, M. McClure and other parties regarding need for status conference and scheduling (.8); review and approve draft notice of status
                       conference (.2); prepare for status conference and review various emails on issues to be discussed (.5); discuss status conference and prepare with D. Brickley
                       (.5); attend emergency status conference (.8); discuss draft order to be submitted with R. O'Connor (.2); review and comment on proposed order (.4); further
B110   10/07/21 MSO    discussion with D. Brickley regarding Chase response and review emails regarding same (.5)                                                                                    3.9    $675/hr       $2,632.50

                       Review and analyze various email correspondence from K. Picota, M. Okin, M. McClure and E. Seitz re: emergency status conference (.5); Review Court’s docket
                       entry setting status conference, exchange emails w/ B. Moore re: same, and draft Notice of Emergency Status Conference (.6); File notice (.1); Review and analyze
                       various email correspondence from D. Brickley and M. Okin re: bank account issues and Chase legal department (.3); Prepare for and attend emergency status
                       conference (.7); Phone call w/ M. Okin re: results of same (.2); Draft proposed order re: bank account per Court’s instructions at status conference, exchange
                       emails w/ M. Okin re: draft of same, prep doc and file proposed order (.9); Review and analyze various email correspondence from M. Okin and D. Brickley re:
B110   10/07/21 RAO    Court’s bank account order and contacting Chase bank re: same (.4); Review and analyze A. Casas notice of appearance for Chase bank (.1);                                     3.8    $400/hr       $1,520.00
                       Discuss status of signature card change with D. Brickley and follow-up after trip to bank (.5); email discussion with other parties regarding partial compliance by
B110   10/08/21 MSO    JPMC and C. Tyler (.3); discuss notice with R. O'Connor, review and approve (.4)                                                                                              1.2    $675/hr        $810.00
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                                                                                                B110 -- Case Administration


Code   Date       Staff   Description                                                                                                                                                       Hours    Rate     Billed Amount
                          Review and analyze email correspondence from M. Okin re: Chase compliance w/ bank account order and drafting notice regarding same (.1); Draft Notice of
B110   10/08/21 RAO       Partial Compliance and exchange emails w/ M. Okin re: draft of same (.9); Review filed notice by M. Okin (.1);                                                          1.1 $400/hr        $440.00
B110   10/11/21 BAM       Fax, email and CM/RRR letter to Matt Shell, CPA                                                                                                                         0.3 $140/hr         $42.00
B110   10/11/21 BAM       Download ECF #87-93 from CourtLink for M. Okin                                                                                                                          0.3 $140/hr         $42.00
                          Email discussion with D. Brickley regarding open legal items to be completed (.4); review IHG statement with Court and reach out to IHG counsel regarding call to
B110   10/11/21 MSO       discuss case (.2)                                                                                                                                                       0.6 $675/hr        $405.00
                          Review and analyze email and letter correspondence from M. Okin and A. Casas re: Chase compliance w/ bank account orders (.2); Review email correspondence
                          from D. Brickley and M. Cleveland re: bank account issues (.2); Draft letter M. McClure re: transfer of Debtor file to OA (.9); Review and analyze various email
B110   10/11/21 RAO       correspondence from M. Okin and Lender counsel re: case update issues (.2);                                                                                             1.5 $400/hr        $600.00
                          Review and analyze email correspondence from D. Brickley, M. Okin, and A. Casas re: Chase bank account issues (.2); Review and analyze email correspondence
B110   10/12/21   RAO     from M. Okin and Court chambers re: cancellation of 10/12 status conference (.2);                                                                                       0.4 $400/hr        $160.00
B110   10/13/21   BAM     Fax, email and mail Emergency Motion to Direct Turnover to Matt Shell, CPA                                                                                              0.3 $140/hr         $42.00
B110   10/14/21   BAM     Draft Notice of Hearing on Emergency Motion to Direct Turnover; draft Witness/Exhibit List for hearing; mail, fax and email Notice to Matt Shell, CPA                   1.4 $140/hr        $196.00
B110   10/15/21   BAM     Download CPA documents to U: drive and discuss with R. O'Connor; email letter to Cheryl Tyler re: documents needed                                                      2.5 $140/hr        $350.00
B110   10/18/21   BAM     Email to Cheryl Tyler re: hearing on 10/29; forward Cheryl Tyler emails to group                                                                                        0.3 $140/hr         $42.00
B110   10/18/21   RAO     Meeting w/ M. Okin re: broker agreement, case strategy and status conference issues (.3);                                                                               0.3 $400/hr        $120.00
B110   10/19/21   RAO     Prepare for and attend continued status conference re: case administration issues (.5); Meet w/ M. Okin and D. Brickley re: results of same (.3);                       0.8 $400/hr        $320.00
B110   10/19/21   MSO     Attend status conference (.5); Discuss results and case strategy with R. O'Connor and D. Brickley (.3)                                                                  0.8 $675/hr        $540.00

B110   10/22/21   MSO     Discuss next steps in case and general strategy with R. O'Connor (.3); telephone conference with E. Seitz regarding general plan for case and sale process (.4)        0.7   $675/hr      $472.50
B110   10/22/21   RAO     Meetings w/ M. Okin re: case strategy issues (.3);                                                                                                                     0.3   $400/hr      $120.00
B110   11/29/21   MSO     Confer with R. O'Connor re: outstanding case issues and strategy                                                                                                       0.3   $675/hr      $202.50
B110   11/29/21   RAO     Meetings w/ M. Okin re: case strategy issues (.3);                                                                                                                     0.3   $400/hr      $120.00
B110   12/02/21   RAO     Meetings w/ M. Okin re: case administration and sale strategy issues (.3);                                                                                             0.3   $400/hr      $120.00
B110   12/07/21   RAO     Draft W&E list for 12.9.21 hearing and confer w/ M. Okin re: issues for same (.6);                                                                                     0.6   $400/hr      $240.00
B110   12/27/21   RAO     Review and analyze email correspondence from M. Okin and M. McClure re: McClure’s Debtor files and conversion to chapter 7 (.2);                                       0.2   $400/hr       $80.00
B110   01/03/22   RAO     Meetings w/ M. Okin re: SBA appeal of cash collateral order and related issues (.3); Review SBA’s notice of appeal and transcript requests (.2);                       0.5   $400/hr      $200.00
                          Review lender email regarding foreclosure sale price and circulate to client and others (.3); review SBA draft dismissal of appeal and approve (.2); discussion with
B110   01/04/22 MSO       lender regarding mechanics of cash and other issues (.2); discussion with D. Brickley regarding same (.4)                                                              1.1   $675/hr      $742.50
                          Review and analyze email correspondence from D. Brickley, M. Okin and C. Tyler re: CPA termination of services (.2); Review and analyze email correspondence
                          from E. Seitz, M. Okin and D. Brickley re: Debtor’s PIP payment and related issues (.2); Review and analyze email correspondence from B. Roman and M. Okin re:
B110   01/04/22 RAO       McClure professional files from Debtor (.1);                                                                                                                           0.5   $400/hr      $200.00
B110   01/04/22 RAO       Review and analyze email correspondence and attachment from R. Kincheloe and M. Okin re: stipulation dismissing SBA cash collateral appeal (.3);                       0.3   $400/hr      $120.00
                          Discuss status of transition with B. Roman and review BTTX agreement regarding termination (.4); email discussion with E. Seitz regarding transition issues and
B110   01/05/22   MSO     setting up transition call (.2)                                                                                                                                        0.6   $675/hr      $405.00
B110   01/05/22   RAO     Draft motion to convert case to chapter 7 and proposed order for same (3.2); Confer w/ M. Okin re: drafts and strategy for conversion (.2);                            3.4   $400/hr    $1,360.00
B110   01/06/22   MSO     Participate in telephone conference with lender and BTTX regarding transition of operations (.5); follow-up discussion with Claro (.6)                                 1.1   $675/hr      $742.50
B110   01/07/22   MSO     Review remaining transition issues with D. Brickley and B. Roman (.5); review draft MORs and comment (.4)                                                              0.9   $675/hr      $607.50
B110   01/07/22   RAO     Review and analyze email correspondence and attachments from B. Roman re: MORs and supporting docs for same (.3);                                                      0.3   $400/hr      $120.00

B110   01/14/22 MSO       Review and comment on motion to covert case (.3); review UST motion to dismiss and follow-up with client regarding MORs (.2); discuss with R. O'Connor (.2)            0.7   $675/hr      $472.50
                          Revise motion to convert and proposed order per M. Okin comments (1.0); Confer w/ M. Okin re: revised drafts (.2); Finalize motion and file same (.2); Email
                          correspondence w/ B. Roman and D. Brickley re: MOR issues and analyze and edit drafts of same (.9); Review and analyze UST motion to dismiss case and confer
B110   01/14/22   RAO     w/ M. Okin re: same (.4);                                                                                                                                              2.7   $400/hr    $1,080.00
B110   01/17/22   MSO     Conference with R. O'Connor regarding conversion hearing and MOR issues                                                                                                0.2   $675/hr      $135.00
B110   01/17/22   RAO     Exchange emails w. B. Roman re: MOR revisions (.2); Meet w/ M. Okin re: hearing on conversion (.2);                                                                    0.4   $400/hr      $160.00
B110   01/18/22   MSO     Telephone conference with L. Lerner regarding dismissal as an alternative to conversion (.2); discuss same with D. Brickley (.3)                                       0.5   $675/hr      $337.50
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                                                                                            B110 -- Case Administration


Code   Date    Staff   Description                                                                                                                                                            Hours    Rate     Billed Amount
                       Draft W&E list for 1/20 hearing (.6); Confer w/ M. Okin re: exhibits for same (.1); Revise draft, compile exhibits, and file W&E list (.3); Meeting w/ M. Okin re: IHG
                       request to dismiss case and strategy for same (.2); Review and analyze email correspondence from L. Lerner and R. Kincheloe re: same (.2); Review email
B110   01/18/22 RAO    correspondence and attachments from B. Roman re: revised MOR drafts and confer w/ M. Okin re: issues for same (.5);                                                          1.9 $400/hr        $760.00
                       Conference with R. O'Connor regarding exhibit list for conversion hearing (.2); email discussion among IHG, SBA and LNR regarding dismissal instead of
B110   01/19/22 MSO    conversion (.2)                                                                                                                                                              0.4 $675/hr        $270.00
                       Review, revise, and finalize MORs for July through December 2021 and file same (1.2); Review email correspondence from M. Okin and other parties re:
B110   01/19/22 RAO    agreement to seek dismissal and withdraw Debtor’s conversion motion (.3); Meet w/ M. Okin re: same and strategy for hearing (.2);                                            1.7 $400/hr        $680.00
B110   01/20/22 MSO    Prepare for and participate in hearing on conversion of case and CBRE fee application (1.1); post hearing discussion with R. O'Connor (.3)                                   1.4 $675/hr        $945.00
                       Meet w/ M. Okin re: hearing issues on conversion, dismissal, cash collateral, and CBRE fee app (.2); Review and exchange emails w/ D. DeMarco re: hearing on
                       CBRE fee app and attendance (.2); Prepare for and attend hearing (.7); Review Court’s order on CBRE fee app (.1); Meet w/ M. Okin re: results of hearing and
B110   01/20/22 RAO    strategy for dismissal and final fee applications (.2);                                                                                                                      1.4 $400/hr        $560.00
B110   01/24/22 MSO    Review motion to dismiss case and discuss with R. O'Connor (.6); conference with D. Brickley regarding mechanics of dismissal (.3)                                           0.9 $675/hr        $607.50
                       Draft motion to dismiss bankruptcy case and proposed order (3.1); Confer w/ M. Okin re: revisions to same (.1); Revise drafts per comments received (.9);
B110   01/24/22 RAO    Exchange emails w/ CRO re: drafts of motion and order, prep docs and file same (.2)                                                                                          4.3 $400/hr      $1,720.00
                                                                                                                                                                                       TOTALS      69.3 $471/hr     $32,637.50
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                                                                                         B120 -- Asset Analysis and Recovery


Code   Date    Staff   Description                                                                                                                                                            Hours         Rate       Billed Amount
                       Email discussion with L. Miller and D. Brickley regarding M. Shell cooperation (.3); discuss status of M. Shell employment by estate with D. Brickley and R.
B120   10/08/21 MSO    O'Connor (.3)                                                                                                                                                                  0.6    $675/hr        $405.00

B120   10/11/21 MSO    Discuss issue with obtaining records from accountant with Claro (.3); draft and send letter to M. Shell regarding turning over Debtor accounting records (.4)                  0.7    $675/hr        $472.50
B120   10/12/21 MSO    Email response to M. Shell regarding letter                                                                                                                                    0.2    $675/hr        $135.00
                       Review and analyze various email correspondence from M. Shell and M. Okin re: CPA turnover of books and records (.2); Meet w/ M. Okin re: turnover motion
B120   10/12/21 RAO    for CPA books and records (.1); Begin formatting and drafting turnover motion (.5);                                                                                            0.8    $400/hr        $320.00
                       Discuss status of books and records request to accountant with Claro (.2); conference with R. O'Connor regarding motion for turnover (.2); review motion and
                       comment (.3); finalize and approve motion for filing (.2); discuss scheduling of hearing with client and court (.3); email discussion with M. Shell to arrange
B120   10/13/21 MSO    turnover (.2)                                                                                                                                                                  1.4    $675/hr        $945.00
                       Continue drafting and editing turnover motion and proposed order (2.9); Legal research re: turnover of accountant files under 542(e) of the bankruptcy code (.5);
                       Review and exchange various email correspondence w/ M. Okin, D. Brickley, L. Miller and B. Roman re: revisions to motion and order, and incorporate comments
                       to same (.4); Finalize motion, file, and email Court chambers re: emergency motion (.3); Confer w/ B. Moore re: service of motion to CPA (.1); Review and analyze
                       various response emails from M. Shell, D. Brickley, M. Okin and L. Miller re: turnover motion issues and hearing on same (.4); Review response emails from Court
B120   10/13/21 RAO    re: hearing on motion (.1); Meetings w/ M. Okin re: hearing issues for CPA turnover and case strategy issues (.4);                                                             5.1    $400/hr       $2,040.00
                       Review notice of hearing and comment (.2); email discussion with M. Shell regarding notice of hearing and need to produce documents (.3); set up link for M.
                       Shell download and manage upload of documents for Claro access (.7); review emails produced by M. Shell (.5); respond to M. Shell regarding access to Quick
B120   10/14/21 MSO    Books data file (.2); discuss QB issue with Claro and needs at hearing tomorrow (.3)                                                                                           2.2    $675/hr       $1,485.00
B120   10/14/21 RAO    Review and analyze various email correspondence from M. Shell, M. Okin, D. Brickley and L. Miller re: CPA files uploaded to ShareFile (.5);                                    0.5    $400/hr         $200.00
                       Review and exchange email correspondence w/ M. Okin and B. Moore re: certificate of notice from Court and drafting notice of hearing on turnover motion and
                       W&E list for same (.2); Review draft notice of hearing from B. Moore, confer w/ M. Okin re: edits to same, incorporate edits and file notice of hearing (.6); Confer
                       w/ B. Moore re: service of same to CPA (.1); Draft W&E list for turnover hearing and confer w/ M. Okin re: draft, exhibits, and witnesses needed (.6); Compile
B120   10/14/21 RAO    exhibits and file W&E list (.4); Review and analyze Lender W&E list for turnover hearing (.1);                                                                                 1.9    $400/hr        $760.00
                       Discuss documents from CPA with R. O'Connor and review highlights (.8); review letter to C. Tyler regarding QB access and discuss service of same (.4); meet with
B120   10/15/21 MSO    D. Brickley and B. Roman in advance of hearing on turnover (.5); participate in hearing on turnover and discuss results with R. O'Connor (.8)                                  2.5    $675/hr       $1,687.50

                       Begin doc review of CPA ShareFile production and confer w/ M. Okin and B. Moore re: same (3.2); Draft letter correspondence to C. Tyler re: production of
                       financial records and QuickBooks information (.8); Confer w/ M. Okin and B. Moore re: draft and service of letter to C. Tyler (.2); Prepare for and attend
B120   10/15/21 RAO    emergency hearing on turnover of CPA records (.5); Meet w/ M. Okin re: results of same (.1); Review Court’s order setting emergency status conference (.1);                    4.9    $400/hr       $1,960.00

B120   10/18/21 MSO    Review C. Tyler emails and discuss upcoming status conference via email with M. McClure (.5); prepare for status conference on accounting information (.4)                     0.9    $675/hr        $607.50
                       Continue doc review of CPA production files (1.7); Review and analyze email correspondence from M. Okin, B. Moore and C. Tyler re: doc production and status
B120   10/18/21 RAO    conference (.2);                                                                                                                                                               1.9    $400/hr        $760.00
                       Meeting with D. Brickley and B. Roman in advance of status conference related to QuickBooks data (.8); participate in status conference (.5); work with Claro
B120   10/19/21 MSO    regarding access to QB after hearing (.5)                                                                                                                                      1.8    $675/hr       $1,215.00
                       Review and analyze various email correspondence from D. Brickley, C. Tyler and M. Okin re: Debtor QuickBooks issues (.4); Review and analyze various email
B120   10/20/21 RAO    correspondence and attachments from D. Brickley, B. Roman and E. Seitz re: Debtor’s insurance policy issues (.4);                                                           0.8       $400/hr        $320.00
                                                                                                                                                                                  TOTALS          26.2       $508/hr     $13,312.50
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                                                                                                   B130 -- Asset Disposition


Code   Date        Staff   Description                                                                                                                                                         Hours    Rate     Billed Amount
B130    10/07/21   MSO     Prepare for and participate in telephone interview with CBRE                                                                                                              0.7 $675/hr        $472.50
B130    10/08/21   MSO     Prepare for and participate on video interview of 1912 Ventures                                                                                                           0.7 $675/hr        $472.50
B130    10/12/21   MSO     Discuss retention of broker with D. Brickley and review emails to CBRE                                                                                                    0.2 $675/hr        $135.00
                           Email discussion with IHG counsel (.2); telephone conference with L. Lerner regarding IHG position and inspection of property (.5); set up property inspection
B130   10/12/21    MSO     with IHG and Claro (.2)                                                                                                                                                   0.9 $675/hr        $607.50
B130   10/15/21    MSO     Review CBRE agreement and reach out to them to discuss adapting to BK process (.4); discuss needed revisions with R. O'Connor (.2)                                        0.6 $675/hr        $405.00
B130   10/18/21    MSO     Review CBRE listing agreement redline and other retention information (.3); discuss listing agreement and sale process with R. O'Connor (.2)                              0.5 $675/hr        $337.50
B130   10/26/21    MSO     Review lender changes to CBRE and discuss with R. O'Connor                                                                                                                0.4 $675/hr        $270.00
B130   10/28/21    RAO     Review and analyze email correspondence from M. Nguyen and B. Roman re: CBRE conference call for sale process (.2);                                                       0.2 $400/hr         $80.00
B130   11/03/21    MSO     Review due diligence information for CBRE (.3); review and facilitate execution of final listing agreement (.2)                                                           0.5 $675/hr        $337.50
B130   11/04/21    MSO     Review draft sale procedures and discuss changes with R. O'Connor                                                                                                         0.5 $675/hr        $337.50
B130   11/04/21    RAO     Meetings w/ M. Okin re: sale strategy, sale motion and sale procedures (.4); Begin formatting and drafting proposed sale procedures (3.8);                                4.2 $400/hr      $1,680.00
B130   11/05/21    RAO     Continue drafting sale procedures (1.3);                                                                                                                                  1.3 $400/hr        $520.00
B130   11/08/21    MSO     Discuss sale procedures and other sale issues with R. O'Connor                                                                                                            0.4 $675/hr        $270.00
                           Review and analyze various email correspondence from L. Lerner and M. Okin re: conference call to discuss IHG and sale issues (.3); Meetings w/ M. Okin re: sale
B130   11/08/21 RAO        procedures and sale strategy issues (.3); Continue drafting sale procedures (1.8);                                                                                        2.4 $400/hr        $960.00
B130   11/09/21 MSO        Discuss sale procedures with R. O'Connor (.4); email exchange with CBRE and client to set up call on procedures for sale process (.2)                                     0.6 $675/hr        $405.00
                           Review and analyze email correspondence from M. Okin and CBRE re: sale procedures and marketing diligence items (.4); Continue drafting proposed sale
                           procedures (.9); Attend conference call w/ M. Okin, B. Roman and IHG rep re: business issues and sale process (.6); Exchange emails w/ B. Roman re: Hotel PIP for
B130   11/09/21 RAO        sale process (.2);                                                                                                                                                        2.1 $400/hr        $840.00
B130   11/10/21 RAO        Meet w/ M. Okin re: proposed sale procedures and revisions to same (.3); Continue editing proposed sale procedures per comments received (1.1);                           1.4 $400/hr        $560.00
                           Review draft sale procedures with R. O'Connor and comment (.4); circulate procedures in advance of call (.2); participate in call with CBRE to discuss sale process
B130   11/11/21 MSO        and timing (.8)                                                                                                                                                           1.4 $675/hr        $945.00

B130   11/11/21 RAO        Review and analyze email correspondence from M. Okin re: sale procedures (.1); Prepare for and attend call w/ CBRE and Claro re: sale procedures issues (1.1);         1.2   $400/hr       $480.00
                           Review revised procedures and finalize (.3); circulate sale procedures to E. Seitz and R. Kincheloe for comments (.2); respond to R. Kincheloe inquiry (.2); discuss
B130   11/12/21 MSO        procedures with R. O'Connor (.2)                                                                                                                                       0.9   $675/hr       $607.50
                           Continue editing sale procedures per comments received on CBRE and Claro call (1.2); Review and analyze email correspondence from M. Okin, R. Kincheloe and
B130   11/12/21 RAO        E. Seitz re: sale procedures (.3); Meetings w/ M. Okin re: same (.3);                                                                                                  1.8   $400/hr       $720.00
B130   11/15/21 MSO        Review lender comments on sale procedures                                                                                                                              0.3   $675/hr       $202.50
                           Begin formatting and drafting sale motion (3.7); Review and analyze email correspondence from E. Seitz and M. Okin re: sale procedures and Lender comments
B130   11/15/21 RAO        (.3);                                                                                                                                                                    4   $400/hr      $1,600.00
B130   11/16/21 RAO        Begin formatting and drafting form of sale APA (4.8); Various meetings w/ M. Okin re: case strategy, operator employment, budget, and sale issues (.4)                 5.2   $400/hr      $2,080.00
B130   11/18/21 RAO        Continue drafting form APA (2.3);                                                                                                                                      2.3   $400/hr        $920.00
                           Email discussion with CBRE and CRO regarding sale process and follow-up on open issues (.3); conference with R. O'Connor regarding sale status and APA (.2);
B130   11/22/21 MSO        review sale procedures and current draft of APA (1.1)                                                                                                                  1.6   $675/hr      $1,080.00
                           Review and analyze email correspondence from CBRE, Claro and M. Okin re: conference call and sale issues (.3); Continue drafting sale motion and form APA
B130   11/22/21 RAO        (3.9);                                                                                                                                                                 4.2   $400/hr      $1,680.00
B130   11/23/21 MSO        Prepare for and participate in conference call with CBRE and Claro regarding sale process                                                                              0.8   $675/hr        $540.00
B130   11/23/21 RAO        Prepare for and attend conference call w/ CBRE re: sale issues (.8); Continue editing form APA (1.7);                                                                  2.5   $400/hr      $1,000.00
                           Conference with R. O'Connor regarding case strategy and moving forward with sale and retention of GF (.4); discussion with CBRE and Claro regarding sale
B130   11/29/21    MSO     process (.2); review GF retention documents and approve for filing (.4)                                                                                                  1   $675/hr        $675.00
B130   11/29/21    RAO     Continue drafting sale motion, sale procedures, and form APA (3.7);                                                                                                    3.7   $400/hr      $1,480.00
B130   11/30/21    MSO     Discussion with IHG regarding sale process                                                                                                                             0.5   $675/hr        $337.50
B130   11/30/21    MSO     Review drafts of sale motion and other documents and comment (.3); conference with R. O'Connor regarding sale process (.3)                                             0.6   $675/hr        $405.00
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                                                                                                 B130 -- Asset Disposition


Code   Date       Staff   Description                                                                                                                                                          Hours         Rate       Billed Amount

                          Meetings w/ M. Okin and D. Brickley re: case strategy and sale issues (.4); Edit sale motion and sale procedures and draft email to E. Seitz re: same (.4); Review
                          and analyze email correspondence and attachments from B. Roman re: sale motion and sale procedures (.4); Review and analyze email correspondence and
                          attachments from CBRE re: sale and marketing update items (.5); Legal research re: statutory predicates for sales and contract assumption (.5); Review and
B130   11/30/21 RAO       exchange emails w/ L. Clayton re: executory contracts and cure schedule (.3); Continue drafting form APA (5.6); Meet w/ M. Okin re: APA issues (.3);                         8.4    $400/hr       $3,360.00
B130   12/01/21 MSO       Telephone conference with E. Seitz and C. Gibbs regarding sale process and bidding issues                                                                                    0.5    $675/hr         $337.50
                          Review and analyze Lender comments to sale motion and email correspondence from M. Okin and E. Seitz re: bidding procedures issues (.3); Confer w/ M. Okin
B130   12/01/21 RAO       re: strategy for same (.2);                                                                                                                                                  0.5    $400/hr        $200.00
B130   12/02/21 MSO       Discuss sale issues with R. O'Connor                                                                                                                                         0.3    $675/hr        $202.50
                          Review and exchange emails and contract attachments w/ L. Clayton re: executory contracts issues for sale process (.4); Draft and edit proposed contract exhibit
B130   12/02/21 RAO       and proposed cure notice for sale process (.8); Continue drafting and editing sale motion, bid procedures, and proposed scheduling order (3.4);                              4.6    $400/hr       $1,840.00
                          Review email correspondence from CBRE re: sale and APA issues (.2); Continue drafting and editing proposed APA (3.8); Meetings w/ M. Okin re: APA issues and
B130   12/06/21 RAO       edits (.2);                                                                                                                                                                  4.2    $400/hr       $1,680.00
B130   12/06/21 MSO       Discuss APA issues and strategy with R. O'Connor                                                                                                                             0.2    $675/hr         $135.00
                          Review and comment on draft APA (.4); respond to inquiry from C. Rubio regarding status of sale process and foreclosure (.3); discuss scheduling of call with
B130   12/07/21 MSO       lender and CBRE regarding status of sale process (.2)                                                                                                                        0.9    $675/hr        $607.50
                          Continue editing proposed APA (2.3); Exchange emails w/ M. Okin re: APA edits (.2); Review and analyze M. Okin edits to same (.1); Draft email to Debtor working
B130   12/07/21 RAO       group re: form APA for bidders (.2); Draft email to Lender re: form APA (.1);                                                                                                2.9    $400/hr       $1,160.00
B130   12/07/21 RAO       Review and analyze email correspondence from M. Okin and CBRE conference call w/ Lender re: sale issues (.2);                                                                0.2    $400/hr          $80.00
B130   12/08/21 MSO       Set up call with CBRE and Lender and participate                                                                                                                               1    $675/hr         $675.00
                          Review and analyze email correspondence from CBRE, M. Okin and E. Seitz re: conference call for sale issues (.2); Prepare for and attend conference call re: sale
B130   12/08/21 RAO       issues (.5); Draft email to M. Okin and D. Brickley re: results of same (.1);                                                                                                0.8    $400/hr        $320.00
B130   12/09/21 MSO       Review and approve R. O'Connor's additions to PSA                                                                                                                            0.5    $675/hr        $337.50

B130   12/09/21 RAO       Continue drafting and editing proposed APA per comments received from CBRE and M. Okin (1.7); Draft email to CBRE working group re: APA for bidders (.2);                    1.9    $400/hr        $760.00
B130   12/10/21 MSO       Email discussion regarding lender decision regarding continuing with sale and forward to client (.2); review CBRE marketing update (.2)                                      0.4    $675/hr        $270.00
                          Review and analyze email correspondence from E. Seitz and M. Okin re: foreclosure notice (.1); Analyze Lender’s foreclosure notice and discuss same w/ M. Okin
B130   12/10/21   RAO     (.4); Review and analyze email correspondence from CBRE re: marketing update letter for sale process (.2);                                                                   0.7    $400/hr        $280.00
B130   12/11/21   MSO     Draft and send response to lender email on sale process and forward proposed budget and marketing materials                                                                  0.3    $675/hr        $202.50
B130   12/13/21   MSO     Review buyer inquiry regarding PSA and clarifications from R. O'Connor and respond                                                                                           0.7    $675/hr        $472.50
B130   12/13/21   RAO     Review and analyze email correspondence from bidder and M. Okin re: sale and APA issues, analyze issues, and draft response to M. Okin (.5);                                 0.5    $400/hr        $200.00
B130   12/14/21   MSO     Review CBRE bid matrix and discuss with D. Brickley (.4); discuss sale results via email with E. Seitz (.1)                                                                  0.5    $675/hr        $337.50

                          Various meetings w/ M. Okin re: sale and Lender foreclosure issues (.5); Review and analyze various email correspondence from CBRE, D. Brickley and M. Okin re:
                          conference call for sale issues (.3); Prepare for and attend conference call (.8); Review and analyze email correspondence and attachments from CBRE re: bidding
B130   12/14/21 RAO       summary and signed APAs (.5); Review and analyze various email correspondence from M. Okin, D. Brickley, and E. Seitz re: sale issues and cash collateral (.3);              2.4    $400/hr        $960.00
                          Review and exchange various email correspondence w/ M. Okin, E. Seitz, and C. Gibbs re: sale and foreclosure issues (.6); Various meetings w/ M. Okin re: same
B130   12/15/21 RAO       (.3);                                                                                                                                                                        0.9    $400/hr        $360.00
                          Review email correspondence from M. Okin, E. Seitz and D. Brickley re: foreclosure issues and meet w/ M. Okin re: Lender purchase of property at foreclosure
B130   01/04/22 RAO       sale (.4);                                                                                                                                                                   0.4    $400/hr        $160.00
                          Review Lender’s notice of winning bid at foreclosure sale (.1); Review and analyze email correspondence from B. Roman, M. Okin and E. Seitz re: foreclosure
B130   01/05/22 RAO       issues, BTTX management agreement, and transition issues (.5);                                                                                                            0.5       $400/hr        $200.00
                                                                                                                                                                                    TOTALS         83.8       $460/hr     $38,580.00
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                                                                                         B160 -- Fee/Employment Applications


Code   Date      Staff   Description                                                                                                                                                      Hours    Rate     Billed Amount
B160    10/05/21 RAO     Review docket and begin formatting and drafting application to employ Okin Adams, declaration in support, and proposed order (3.3);                                    3.3 $400/hr      $1,320.00
B160    10/08/21 MSO     Draft notice of Claro engagement letter and file with court (.6)                                                                                                       0.6 $675/hr        $405.00
                         Review and analyze email and attachment from B. Roman re: Claro engagement letter and filing same (.3); Review filed notice by M. Okin re: Claro engagement
                         letter (.2); Review various email correspondence from M. Okin, L. Miller, L. Clayton, and D. Brickley re: CPA employment, compliance w/ Claro document requests
B160   10/08/21 RAO      and related issues (.2); Review pleadings and draft response email to M. Okin re: CPA employment (.2);                                                                 0.9 $400/hr        $360.00
B160   10/12/21 MSO      Review Claro application to employ and approve (.2); review OA application to employ and approve (.3)                                                                  0.5 $675/hr        $337.50
                         Review and analyze email correspondence and attachments from B. Roman re: Debtor’s application to employ Claro, declaration, and order, and make redline
                         edits to same (1.6); Confer w/ M. Okin re: application to employ OA and continue editing same per comments (.9); Exchange emails w/ M. Okin and D. Brickley re:
B160   10/12/21 RAO      approval of OA employment application, prep docs and exhibits, and file same (.3);                                                                                     2.8 $400/hr      $1,120.00
                         Review and exchange emails w/ Claro team re: finalizing Claro employment application (.1); Analyze B. Roman edits to Claro employment application (.2); Finalize
B160   10/13/21 RAO      and file Claro employment application and draft response email to Claro re: same (.3);                                                                                 0.6 $400/hr        $240.00
B160   10/14/21 RAO      Review and analyze M. McClure final fee application, exhibits, and proposed order, and draft email to Claro team re: same (.4);                                        0.4 $400/hr        $160.00
                         Meeting w/ M. Okin re: employment of CBRE as property broker (.2); Begin reviewing and editing listing agreement (2.4); Review and exchange email
B160   10/15/21 RAO      correspondence w/ M. Okin and CBRE counsel re: listing agreement and employment application (.2);                                                                      2.8 $400/hr      $1,120.00
                         Continue reviewing and editing CBRE listing agreement (2.6); Draft email to M. Okin re: redline of same (.1); Begin drafting and editing application to employ
B160   10/18/21 RAO      CBRE as broker (2.8);                                                                                                                                                  5.5 $400/hr      $2,200.00
                         Conference with R. O'Connor regarding changes to CBRE listing agreement (.3); review SBA counsel email and respond (.3); review CBRE employment application
B160   10/20/21 MSO      and other documents and review lender comments to listing agreement (.2);                                                                                              0.8 $675/hr        $540.00
                         Continue editing CBRE broker agreement and meet w/ M. Okin re: circulating draft (1.1); Draft emails to Claro, Lender, and SBA counsel re: broker agreement
                         (.3); Analyze various response emails from SBA counsel and M. Okin re: same (.3); Review and analyze Lender comments to draft (.4); Continue editing CBRE
                         employment application, declaration and order, and draft email to CBRE group re: employment app and listing agreement (1.8); Review response email from
B160   10/20/21 RAO      CBRE counsel re: same (.1);                                                                                                                                              4 $400/hr      $1,600.00
B160   10/21/21 RAO      Review and exchange various emails w/ E. Seitz and M. Okin re: CBRE listing agreement (.2);                                                                            0.2 $400/hr         $80.00
                         Review and analyze email correspondence from J. Repking re: CBRE employment app and declaration issues (.1); Review and exchange email correspondence w/
B160   10/22/21 RAO      E. Seitz re: lender approval of CBRE agreement (.2);                                                                                                                   0.3 $400/hr        $120.00

B160   10/25/21 RAO      Review and analyze email correspondence and attachments from J. Repking re: CBRE application and conflicts lists and draft response re: edits to declaration (.4);   0.4   $400/hr       $160.00
                         Review and analyze email correspondence and attachment from E. Seitz re: addition redline edits to CBRE agreement (.3); Meet w/ M. Okin re: same (.2); Edit
B160   10/26/21 RAO      CBRE employment declaration and exchange emails w/ J. Repking re: revisions to same (.5);                                                                             1    $400/hr       $400.00
                         Review and analyze various email correspondence from E. Seitz, M. Okin, D. Brickley and B. Roman re: GF management agreement, cash collateral and related
                         issues (.3); Review and analyze email correspondence from B. Roman, M. Yu, and M. Nguyen re: conference call to discuss CBRE sale strategy (.3); Continue
                         drafting and editing CBRE listing agreement per comments received and meet w/ M. Okin re: same (2.4); Exchange emails w/ M. Okin re: circulating revised draft
B160   10/27/21 RAO      (.1); Draft email to CBRE working group re: same (.2);                                                                                                               3.3   $400/hr     $1,320.00
B160   10/28/21 RAO      Review email correspondence from M. Okin and A. Price re: GF management agreement redline and draft response to M. Okin (.2);                                        0.2   $400/hr        $80.00
                         Review and analyze email correspondence and attachments from M. Okin, D. Brickley and B. Roman re: GF management employment and CBRE employment
B160   11/01/21   RAO    issues (.6);                                                                                                                                                         0.6   $400/hr       $240.00
B160   11/02/21   MSO    Conference call with CBRE regarding retention and sale process                                                                                                       0.6   $675/hr       $405.00
B160   11/02/21   RAO    Review and analyze email correspondence from M. Okin and CBRE re: engagement agreement markup and conference call (.4);                                              0.4   $400/hr       $160.00
B160   11/04/21   MSO    Review final CBRE employment application and approve for filing (.3); discuss order with R. O'Connor (.3)                                                            0.6   $675/hr       $405.00

                         Exchange emails w/ D. Brickley and M. Okin re: CBRE engagement agreement and edits to CBRE app (.4); Review, edit, and finalize CBRE employment application,
B160   11/04/21 RAO      exhibits, and proposed order and confer w/ M. Okin re: filing same (.9); File CBRE employment app and draft email to Court re: hearing date for same (.3);           1.6   $400/hr       $640.00
                         Review revisions to GF agreement and comment (.2); review revisions to same (.2); address L. Lerner comment on CBRE employment app and discuss with D.
B160   11/05/21 MSO      Brickley (.2)                                                                                                                                                        0.6   $675/hr       $405.00
                         Review, analyze and exchange various email correspondence w/ M. Okin and Claro re: revisions to GF management agreement, redline agreement and
                         incorporate comments, and draft response email re: revised draft (2.4); Review and analyze various email correspondence from K. Picota, M. Okin and D. Brickley
                         re: hearing on CBRE employment (.3); Draft and file Notice of Hearing on CBRE employment app (.5); Review and analyze various email correspondence from L.
B160   11/05/21 RAO      Lerner, M. Okin and D. Brickley re: IHG PIP and CBRE employment app issues (.4);                                                                                     3.6   $400/hr     $1,440.00
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                                                                                        B160 -- Fee/Employment Applications


Code   Date       Staff   Description                                                                                                                                                     Hours    Rate     Billed Amount
                          Review and comment on draft witness and exhibit list for CBRE retention (.3); prepare for hearing and review documents (.4); review court order employing CBRE
B160   11/09/21 MSO       and circulate to group (.3)                                                                                                                                             1 $675/hr        $675.00
                          Draft W&E list for CBRE employment hearing and exchange emails w/ M. Okin re: draft of same (.6); Prep exhibits and file W&E list (.3); Review and analyze
B160   11/09/21 RAO       Court’s order granting CBRE employment app and various email correspondence from M. Okin, Lender and IHG counsel re: same (.4);                                       1.3 $400/hr        $520.00
                          Continue drafting and editing operator employment application and proposed order (1.7); Review and exchange various email correspondence and attachments
B160   11/16/21 RAO       w/ M. Okin, E. Seitz, and Claro re: drafts and edits to same (.4);                                                                                                    2.1 $400/hr        $840.00
                          Review and analyze Lender comments to operator employment app and incorporate comments to same (.4); Draft email to M. Okin re: finalizing employment
B160   11/17/21 RAO       app (.1);                                                                                                                                                             0.5 $400/hr        $200.00
                          Review and analyze email correspondence from M. Okin, A. Price, D. Brickley, E. Seitz and B. Roman re: revisions to GF management agreement and employment
B160   11/24/21 RAO       issues (.7); Edit employment application and proposed order and circulate drafts to working group (.4);                                                               1.1 $400/hr        $440.00
                          Email correspondence w/ B. Roman, D. Brickley and M. Okin re: revisions to GF agreement and employment application (.3); Confer w/ M. Okin re: same (.4); Edit
B160   11/29/21 RAO       GF employment app, order, and exhibits, and file same (.8);                                                                                                           1.5 $400/hr        $600.00
                          Review and analyze email correspondence from K. Picotta re: hearing set on GF employment app (.1); Review and analyze B. Moore draft of Notice of Hearing,
B160   11/30/21 RAO       edit same, and file (.3);                                                                                                                                             0.4 $400/hr        $160.00
B160   12/09/21 RAO       Review email correspondence from M. Okin re: hearing on BTTX employment (.1); Prepare for and attend hearing on employment app (.4);                                  0.5 $400/hr        $200.00
B160   01/06/22 MSO       Telephone conference with CBRE counsel regarding final fee application (.3); review draft (.3)                                                                        0.6 $675/hr        $405.00
                          Review email correspondence and attachments from M. Okin and D. DeMarco re: CBRE final fee application (.3); Review email correspondence from M. Okin and
B160   01/06/22   RAO     E. Seitz re: same and payment of CBRE by Lender (.2);                                                                                                                 0.5 $400/hr        $200.00
B160   01/07/22   MSO     Follow-up calls with CBRE counsel regarding fee application                                                                                                           0.5 $675/hr        $337.50
B160   01/10/22   MSO     Discuss CBRE application to R. O'Connor (.2); review revisions and forward to D. DeMarco for review (.2)                                                              0.4 $675/hr        $270.00
B160   01/10/22   RAO     Meet w/ M. Okin re: CBRE fee app issues (.2); Review and redline CBRE draft and analyze email correspondence w/ M. Okin and CBRE re: same (1.2);                      1.4 $400/hr        $560.00
                          Review and redline proposed order on CBRE fee app (.4); Review and exchange email correspondence w/ D. DeMarco and M. Okin re: same (.1); File CBRE fee
B160   01/11/22 RAO       application (.3);                                                                                                                                                     0.8 $400/hr        $320.00
                          Conference with R. O'Connor regarding fee applications (.2); discuss payment issues with CBRE counsel (.2); conference with B. Roman regarding mechanics of
B110   01/25/22 MSO       dismissal and fee applications (.5)                                                                                                                                   0.9 $675/hr        $607.50
                          Review and analyze various email correspondence from B. Roman and M. Okin re: filing final fee applications and issues for same (.2); Meet w/ M. Okin re:
                          strategy for fee apps (.2); Begin drafting OA final fee application and proposed order (2.9); Review and analyze various email correspondence from D. DeMarco,
B160   01/25/22 RAO       M. Okin and D. Brickley re: payment of CBRE fee (.3);                                                                                                                 3.6 $400/hr      $1,440.00
                                                                                                                                                                                   TOTALS      52.7 $437/hr     $23,032.50
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                                                                                       B170 -- Fee/Employment Objections


Code   Date      Staff   Description                                                                                                                                                     Hours    Rate     Billed Amount
B170    10/26/21 MSO     Discuss objection to McClure fee app with R. O'Connor (.2); discuss same with client (.2)                                                                             0.4 $675/hr        $270.00
                         Review and analyze McClure fee app and exhibits (.4); Meet w/ M. Okin re: potential objection and resolving same (.2); Draft and exchange emails w/ D. Brickley
B170   10/26/21   RAO    and B. Roman re: objection to fee app and resolution (.3); Exchange emails w/ B. Moore re: objection deadline (.1);                                                     1 $400/hr        $400.00
B170   11/02/21   RAO    Exchange emails w/ M. Okin re: resolution of objections to McClure fee application (.1);                                                                              0.1 $400/hr         $40.00
B170   11/03/21   MSO    Email exchange with M. McClure regarding fee application resolution                                                                                                   0.2 $675/hr        $135.00
B170   11/03/21   RAO    Review and exchange emails w/ M. Okin and McClure re: resolution of objections to McClure fee app (.2);                                                               0.2 $400/hr         $80.00
B170   11/04/21   MSO    Review and approve stipulation with M. McClure over fees                                                                                                              0.2 $675/hr        $135.00
B170   11/04/21   RAO    Review and exchange emails w/ M. Okin and M. McClure re: McClure fee stip (.2);                                                                                       0.2 $400/hr         $80.00
B170   11/04/21   RAO    Draft stipulation and agreed order re: McClure fee app (.7);                                                                                                          0.7 $400/hr        $280.00
B170   11/05/21   RAO    Edit and file stipulation and agreed order re: McClure fee app (.2);                                                                                                  0.2 $400/hr         $80.00
B170   11/08/21   RAO    Review and analyze Court’s order on McClure fee stip and final fee app (.2); Exchange emails w/ M. Okin and K. Picota re: fee order issues (.3);                      0.5 $400/hr        $200.00
B170   11/09/21   RAO    Review and analyze email correspondence from K. Picota re: corrected order on McClure fee app (.2);                                                                   0.2 $400/hr         $80.00
                                                                                                                                                                                  TOTALS       3.9 $456/hr      $1,780.00
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                                                                                   B185 -- Assumption/Rejection of Leases and Contracts


Code   Date        Staff   Description                                                                                                                                                 Hours         Rate      Billed Amount
B185    11/11/21   RAO     Review Debtor’s schedules and draft email to Claro re: executory contracts and sale process (.4);                                                                   0.4     $400/hr        $160.00
B185    11/16/21   RAO     Draft email to B. Roman re: executory contracts for assumption and review response email (.1);                                                                      0.1     $400/hr         $40.00
B185    11/29/21   RAO     Email correspondence w/ B. Roman and D. Brickley re: executory contracts (.2),                                                                                      0.2     $400/hr         $80.00
B185    12/09/21   RAO     Review and exchange emails w/ L. Clayton re: Debtor’s executory contracts (.2); Exchange additional emails w/ CBRE re: executory contracts (.2);                    0.4     $400/hr        $160.00
                                                                                                                                                                              TOTALS           1.1    $400/hr         $440.00
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                                                                                             B210 -- Business Operations


Code   Date       Staff   Description                                                                                                                                                       Hours    Rate     Billed Amount
                          Meeting with D. Brickley and Claro regarding various hotel operational issues to be addressed (1.0); review and comment on letter to hotel employees regarding
B210   10/01/21 MSO       transition (.3); receive and review proposed management agreement from GF counsel (.4)                                                                                  1.7 $675/hr      $1,147.50
                          Review and edit CRO letter to employees re: transition (.2); Review and begin redlining proposed management agreement w/ BTTX Associates (1.7); Meetings w/
B210   10/01/21 RAO       M. Okin and D. Brickley re: management agreement, letter to employees, and transition issues (.6);                                                                      2.5 $400/hr      $1,000.00
                          Email discussion with M. McClure regarding transition issues and getting in touch with S. Tyler (.5); telephone call with D. Brickley regarding same (.3); review
B210   10/02/21 MSO       Lender comments on management agreement (.4)                                                                                                                            1.2 $675/hr        $810.00
                          Review and analyze email correspondence from B. Roman, D. Brickley, M. McClure, and M. Okin re: CRO transition letter, management agreement, and related
B210   10/02/21 RAO       issues (.3); Review Lender redline of proposed management agreement (.4); Continue editing proposed management agreement (3.4);                                         4.1 $400/hr      $1,640.00
                          Review changes to management agreement and set up call to go over issues with Claro (.7); video conference with Claro and CRO to discuss management
                          agreement changes and other operational issues (.9); review remaining changes and forward revised agreement to GF counsel (.4); continue trying to arrange
B210   10/04/21 MSO       contact between D. Brickley and C. Tyler via M. McClure (.5)                                                                                                            2.5 $675/hr      $1,687.50
                          Continue editing proposed management agreement and incorporating Lender comments (2.2); Circulate email to working group re: draft and comments on
                          management agreement and incorporate changes per responses (.2); Prepare for and attend conference call w/ CRO, Claro, and M. Okin re: management
                          agreement and transition issues (1.1); Additional edits to management agreement per conference call discussion (.3); Review various email correspondence from
B210   10/04/21 RAO       M. Okin and Lender counsel re: management agreement, cash collateral issues, and related transition issues (.4);                                                        4.2 $400/hr      $1,680.00
B210   10/05/21 MSO       Travel to Webster with Claro to visit hotel, walk hotel property and visit with staff (2.5); return to Houston (.5)                                                       3 $675/hr      $2,025.00
                          Review and exchange various email correspondence w/ Lender counsel re: case update and hotel operations (.3); Review and exchange emails w/ B. Roman re:
B210   10/06/21 RAO       locksmith issues and invoice (.2);                                                                                                                                      0.5 $400/hr        $200.00
                          Draft email to JPMC counsel regarding difficulties with bank account transfer (.4); review response from JPMC counsel and reply (.2); participate in call with
B210   10/11/21 MSO       management company regarding terms of management agreement (.4)                                                                                                           1 $675/hr        $675.00
                          Review and analyze Holiday Inn franchise statement and reservation of rights, and various email correspondence from M. Okin, E. Seitz and L. Lerner re: same
B210   10/11/21 RAO       (.4);                                                                                                                                                                   0.4 $400/hr        $160.00
B210   10/12/21 MSO       Discuss status of bank account transfer with D. Brickley (.2); inform court of resolution of bank account status (.1)                                                   0.3 $675/hr        $202.50
                          Review email correspondence from M. Okin and L. Lerner and prepare for and attend conference call w/ IHG counsel re: case administration issues and business
                          operations (.4); Meet w/ M. Okin re: results of same and case strategy issues (.2); Review follow up emails from L. Lerner re: hotel inspection and buyer
B210   10/12/21 RAO       application process (.2);                                                                                                                                               0.8 $400/hr        $320.00
B210   10/18/21 MSO       Review IHG hotel inspection report and forward to Claro                                                                                                                 0.4 $675/hr        $270.00
B210   10/18/21 RAO       Review and analyze email correspondence and attachments from L. Lerner re: hotel inspection (.4);                                                                       0.4 $400/hr        $160.00
                          Discuss new insurance quote with D. Brickley and review documents (.3); discuss renewal quote and payments with B. Roman (.2); email discussion with E. Seitz
B210   10/19/21 MSO       regarding insurance coverage and possible need to force place insurance (.3)                                                                                            0.8 $675/hr        $540.00
                          Review and analyze email correspondence and attachments from D. Brickley and M. Okin re: Insurance renewal proposal (.4); Meet w/ B. Roman re: same (.1);
B210   10/19/21   RAO     Analyze loan docs and draft email to B. Roman and D. Brickley re: insurance requirements (.3);                                                                          0.8 $400/hr        $320.00
B210   10/25/21   RAO     Review and analyze email correspondence and attachment from E. Seitz re: Debtor’s insurance invoice (.1);                                                               0.1 $400/hr         $40.00
B210   10/28/21   MSO     Email to A. Casas regarding JPMC issues (.2); discuss with D. Brickley (.2); respond to A. Casas (.2)                                                                   0.6 $675/hr        $405.00
B210   10/28/21   RAO     Review and analyze email correspondence from M. Okin and A. Casas re: Chase account issues (.2);                                                                        0.2 $400/hr         $80.00
B210   10/29/21   MSO     Telephone conference with JPMC internal counsel to resolve payment issues (.3); follow-up with D. Brickley (.2)                                                         0.5 $675/hr        $337.50
B210   10/29/21   RAO     Review and analyze email correspondence and attachment from E. Seitz and A. Price re: GF management agreement revisions (.3);                                           0.3 $400/hr        $120.00
B210   10/29/21   RAO     Review and analyze email correspondence from M. Okin and UST re: Debtor’s MORs (.1);                                                                                    0.1 $400/hr         $40.00
B210   10/30/21   RAO     Review and analyze email correspondence from M. Okin re: GF management revisions to agreement (.1)                                                                      0.1 $400/hr         $40.00
B210   11/01/21   MSO     Review GF changes to the management agreement and follow-up with Claro (.4); review Claro comments (.2)                                                                 0.6 $675/hr        $405.00
B210   11/02/21   MSO     Discuss franchise fee issue with IHG counsel and Claro                                                                                                                  0.3 $675/hr        $202.50
B210   11/02/21   RAO     Review and analyze email correspondence from M. Okin, L. Lerner and B. Roman re: IHG franchise fee issues (.3);                                                         0.3 $400/hr        $120.00
B210   11/06/21   MSO     Email and phone discussion with E. Seitz regarding delay in retaining GF and comments to agreement                                                                      0.5 $675/hr        $337.50
B210   11/08/21   MSO     Discuss franchise fee and PIP issues via email with L. Lerner and set up call with clients (.5); discuss call with client (.2)                                          0.7 $675/hr        $472.50
B210   11/08/21   MSO     Review revisions to GF agreement and discuss with R. O'Connor (.4); forward revisions to A. Kazman Price (.2)                                                           0.6 $675/hr        $405.00
                          Edit GF management agreement and confer w/ M. Okin re: redlines to same (.8); Review and analyze email correspondence from M. Okin re: same (.1); Review
B210   11/08/21 RAO       and analyze court’s orders on applications to employ OA and Claro (.2);                                                                                                 1.1 $400/hr        $440.00
B210   11/09/21 MSO       Prepare for and participate in call with IHG and client regarding PIP and past due franchise fees                                                                       0.6 $675/hr        $405.00
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                                                                                               B210 -- Business Operations


Code   Date      Staff   Description                                                                                                                                                         Hours         Rate      Billed Amount
B210    11/10/21 RAO     Review and analyze email correspondence from D. Brickley and H. Bigley re: Debtor’s 401k plan and business issues (.2);                                                     0.2     $400/hr         $80.00
                         Telephone conference with E. Seitz and A. Price regarding revisions to GF contract and create list of changes to be made (.8); discuss revisions with R. O'Connor
B210   11/12/21 MSO      (.2); review revised agreement and circulate to GF (.3)                                                                                                                     1.3    $675/hr        $877.50
                         Discuss status of GF operating agreement with E. Seitz (.1); follow-up with D. Brickley regarding GF status and pushing deal forward (.3); conference with R.
                         O'Connor regarding operator and cash collateral issues (.4); review correspondence regarding insurance issue for operator (.1); respond to D. Brickley email
B210   11/15/21 MSO      regarding conversation with lender and changes to reporting (.2)                                                                                                            1.1    $675/hr        $742.50
                         Review and analyze various email correspondence and attachments from M. Okin, D. Brickley, and E. Seitz re: employment of BTTX as hotel operator (.5);
B210   11/15/21 RAO      Continue drafting and editing operator employment application and proposed order (1.8);                                                                                     2.3    $400/hr        $920.00
                         Review and comment on motion to retain operator (.5); circulate final version to GF counsel (.1); discuss terms of agreement and insurance issues with E. Seitz
B210   11/16/21   MSO    (.3); review emails regarding insurance coverage concerns and open issues (.2)                                                                                              1.1    $675/hr        $742.50
B210   11/16/21   RAO    Review and analyze email correspondence from Claro and M. Okin re: Phase 1 inspection, insurance, and marketing process items (.3);                                         0.3    $400/hr        $120.00
B210   11/17/21   MSO    Discuss status of agreement with E. Seitz via email                                                                                                                         0.3    $675/hr        $202.50
B210   11/18/21   RAO    Review and analyze email correspondence and attachments from E. Seitz and M. Okin re: insurance policy renewal issues (.3);                                                 0.3    $400/hr        $120.00

                         Review E. Seitz email regarding GF retention and insurance issues (.1); discuss insurance issues with B. Roman and review information from broker (.2); follow-up
                         emails with E. Seitz and C. Gibbs regarding misunderstandings over GF retention and insurance (.2); conference with D. Brickley regarding GF and insurance issues
B210   11/23/21 MSO      (.3); telephone conference with lender counsel regarding GF and insurance (.3); review revised management agreement attachment and finalize (.4)                            1.5    $675/hr      $1,012.50
                         Review and analyze various email correspondence from M. Okin, E. Seitz and C. Gibbs re: insurance issues and GF employment (.4); Meet w/ M. Okin re: same
B210   11/23/21   RAO    (.2);                                                                                                                                                                       0.6    $400/hr        $240.00
B210   11/30/21   RAO    Review and analyze email correspondence from M. Okin and L. Lerner re: conference call to discuss IHG issues and meet w/ M. Okin re: same (.3);                             0.3    $400/hr        $120.00
B210   12/07/21   RAO    Review and analyze email correspondence from C. Rubio and M. Okin re: Lender lift stay issues and retention of BTTX (.2);                                                   0.2    $400/hr         $80.00
B210   12/07/21   MSO    Review and approve for filing witness and exhibit list for BTTX hearing                                                                                                     0.3    $675/hr        $202.50
                         Review franchise fee statement from lender and follow-up with Claro regarding status of payment and correct amount (.6); review further information provided
B210   12/27/21 MSO      by client (.2)                                                                                                                                                           0.8       $675/hr        $540.00
B210   12/28/21 MSO      Review draft declaration for status conference and provide comments (.9); review report showing franchise fees (.2)                                                      1.1       $675/hr        $742.50
B210   01/11/22 MSO      Telephone conference with D. Brickley regarding PIP loan and related expenses and review bank statements from lender                                                     0.7       $675/hr        $472.50
                                                                                                                                                                                    TOTALS       43.6       $548/hr     $23,902.50
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                                                                                             B230 -- Financing/Cash Collateral


Code   Date      Staff   Description                                                                                                                                                        Hours    Rate     Billed Amount
B230    10/01/21 MSO     Follow-up discussion with E. Seitz regarding various issues to address including use of cash collateral and budget                                                       0.6 $675/hr        $405.00
B230    10/04/21 MSO     Email discussion with lender counsel regarding cash collateral order and budget for remaining case                                                                       0.3 $675/hr        $202.50
                         Conferences with R. O'Connor regarding cash collateral order, lender changes to management agreement and compliance with lift stay order (.3); receive and
B230   10/05/21 MSO      review draft cash collateral order (.2)                                                                                                                                  0.5 $675/hr        $337.50
                         Meetings w/ M. Okin re: case strategy issues, management agreement, and cash collateral (.3); Review and analyze email correspondence from E. Seitz re: draft
B230   10/05/21 RAO      cash collateral order, review draft, and begin redlining same (1.2);                                                                                                     1.5 $400/hr        $600.00
B230   10/06/21 MSO      Review R. O'Connor revisions to cash collateral order and discuss further changes (.5); review lender comments and final revisions (.5)                                    1 $675/hr        $675.00
                         Meetings and email correspondence w/ M. Okin re: revisions to cash collateral order and continue drafting and editing same per comments (1.4); Review and
B230   10/06/21 RAO      exchange various emails w/ Lender and Claro re: draft cash collateral order and make additional edits per comments (.5);                                                 1.9 $400/hr        $760.00
B230   10/08/21 MSO      Discuss status of revised budget with D. Brickley and L. Miller (.2); review draft budget and comment (.4)                                                               0.6 $675/hr        $405.00
B230   10/11/21 MSO      Discuss cash collateral budget with Claro and finalize (.8); draft status update email to lender and forward proposed budget (.6)                                        1.4 $675/hr        $945.00
                         Review and analyze various email correspondence from M. Okin and Claro team re: cash collateral budget, bank account issues, and case administration strategy
B230   10/11/21 RAO      items (.6); Review draft cash collateral budget and discuss same w/ M. Okin (.2);                                                                                        0.8 $400/hr        $320.00
                         Finalize budget and cash collateral order and discuss final items with E. Seitz (.4); forward order and budget to SBA counsel and respond to SBA counsel questions
B230   10/12/21 MSO      (.5); finalize order for filing (.2); address questions regarding language from SBA (.3)                                                                                 1.4 $675/hr        $945.00

                         Review and analyze various email correspondence from M. Okin, R. Kincheloe, and E. Seitz re: cash collateral order and budget issues (.5); Finalize and file cash
B230   10/12/21 RAO      collateral order (.2); Review additional email correspondence from R. Kincheloe, M. Okin and E. Seitz re: SBA comments to same and revised order (.3);                   1    $400/hr      $400.00
                         Review IHG email regarding cash collateral order and follow-up with lender's counsel (.3); telephone conference with E. Seitz regarding IHG requested language
B230   10/13/21 MSO      (.3)                                                                                                                                                                    0.6   $675/hr      $405.00
                         Review and analyze SBA comments to cash collateral order, incorporate same, confer w/ M. Okin and file cash collateral order (.4); Draft notice of withdrawal of
                         original stipulated cash collateral order and file same (.5); Review and analyze various email correspondence from L. Lerner, C. Gibbs and M. Okin re: IHG
                         requested cash collateral language (.3); Review and analyze various email correspondence from M. Okin, D. Brickley and E. Seitz re: Lender wiring instructions for
B230   10/13/21 RAO      adequate protection payment (.2);                                                                                                                                       1.4   $400/hr      $560.00

B230   10/14/21 MSO      Discuss IHG issue with cash collateral order with L. Lerner (.2); review draft stipulation regarding payment of post petition fees (.2); discuss with E. Seitz (.2)     0.6   $675/hr      $405.00
                         Review and analyze various email correspondence from M. Okin and L. Lerner re: stipulation regarding franchise agreement fee payments (.2); Meetings w/ M.
                         Okin re: strategy for same and related case administration issues (.3); Draft stipulation and exchange various emails w/ M. Okin, L. Lerner, and E. Seitz re: same
B230   10/14/21   RAO    (.9); Finalize and file stipulation (.1);                                                                                                                               1.5   $400/hr      $600.00
B230   10/25/21   MSO    Telephone conference with E. Seitz regarding discussion with client and budget going forward                                                                            0.5   $675/hr      $337.50
B230   11/04/21   MSO    Review draft cash collateral budget and discuss with B. Roman (.5); forward draft budget to E. Seitz for lender approval (.2)                                           0.7   $675/hr      $472.50
B230   11/09/21   MSO    Follow-up with E. Seitz regarding cash collateral budget (.2); discussion with R. O'Connor regarding same (.3)                                                          0.5   $675/hr      $337.50
                         Review and analyze email correspondence from M. Okin and E. Seitz re: updated cash collateral budget items (.2); Meetings w/ M. Okin re: cash collateral and GF
B230   11/09/21 RAO      employment issues (.3);                                                                                                                                                 0.5   $400/hr      $200.00
                         Discussions with Claro regarding lender question on capital expenditures and review revised budget (.8); final review of budget and draft email to E. Seitz
B230   11/10/21 MSO      forwarding budget (.4)                                                                                                                                                  1.2   $675/hr      $810.00
                         Discuss budget and other case issues with E. Seitz (.5); discuss results of lender call with client (.3); receive further inquiry from lender on budget to actual and
B230   11/11/21 MSO      discuss with Claro (.3)                                                                                                                                                 1.1   $675/hr      $742.50
B230   11/11/21 RAO      Review and analyze email correspondence from M. Okin, E. Seitz and D. Brickley re: cash collateral and business issues (.3);                                            0.3   $400/hr      $120.00
                         Receive and review budget variance information and forward to lender's counsel (.5); discuss approval of November cash collateral budget with E. Seitz via
B230   11/15/21   MSO    extended email exchange (.6); discuss status of budget approval with D. Brickley (.3)                                                                                   1.4   $675/hr      $945.00
B230   11/15/21   RAO    Review and analyze email correspondence from M. Okin and Claro re: cash collateral issues (.3); Meetings w/ M. Okin re: same (.3);                                      0.6   $400/hr      $240.00
B230   11/16/21   MSO    Review status of outstanding fees and provide Claro with updated budget and accrual information                                                                         0.5   $675/hr      $337.50
B230   12/09/21   MSO    Review draft budget for completing case and answer B. Roman question regarding adequate protection payments                                                             0.5   $675/hr      $337.50
                         Telephone conference with E. Seitz in advance of hearing to discuss status of sale, use of cash and timing of decision on lender purchase of property (.4); prepare
B230   12/09/21 MSO      for and participate in hearing and status conference with Court (1.2)                                                                                                   1.6   $675/hr    $1,080.00
                         Further review of cash budget and discuss with B. Roman (.4); conference call with Claro regarding revisions to budget for remainder of case (.8); review budget
B230   12/10/21 MSO      with revisions and emails regarding further revisions (.3)                                                                                                              1.5   $675/hr    $1,012.50
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                                                                                             B230 -- Financing/Cash Collateral


Code   Date       Staff   Description                                                                                                                                                            Hours         Rate       Billed Amount
                          Review and analyze email correspondence from M. Okin and D. Brickley re: cash collateral budget issues and revisions for same (.2); Meet w/ M. Okin re:
B230   12/10/21 RAO       revisions to budget (.2); Review and analyze email correspondence from L. Clayton and D. Brickley re: revised budget draft (.3);                                               0.7    $400/hr        $280.00
                          Review email correspondence from M. Okin and E. Seitz re: amended cash collateral budget and stipulated order (.3); Begin drafting agreed order re: cash
B230   12/13/21 RAO       collateral and meet w/ M. Okin re: issues for same (.8); Review and analyze prior cash collateral stipulation and budgets (.3);                                                1.4    $400/hr        $560.00
B230   12/14/21 MSO       Email discussion with E. Seitz regarding lack of agreement to extend use of cash collateral (.5); discuss response to lender delay with D. Brickley (.2)                       0.7    $675/hr        $472.50
                          Email discussion of approval of the budget by lender (.3); arrange for status conference with bankruptcy court and notice hearing (.3); discuss status with client
B230   12/15/21 MSO       (.2); draft and send response to C. Gibbs (.2)                                                                                                                                   1    $675/hr        $675.00
B230   12/15/21 RAO       Review and analyze various email correspondence from M. Okin, Court, and other parties re: emergency hearing on cash collateral (.4);                                          0.4    $400/hr        $160.00
                          Finalize and file notice of emergency status conference (.1); telephone conference with C. Gibbs and E. Seitz regarding terms of new order and budget (.7); work
                          on revisions to budget to match agreement with lender's counsel (.6); review and comment on revised cash collateral order and finalize order and budget for
                          filing in advance of hearing (.8); prepare for and participate in status conference with Court (.8); review and approve revisions to order per comments at hearing
B230   12/16/21 MSO       (.4); email discussion with counsel for SBA regarding comments on order (.6)                                                                                                    4     $675/hr       $2,700.00

                          Various meetings w/ M. Okin re: cash collateral hearing and strategy (.4); Review Lender proposed cash collateral order and make redline changes to same,
                          meetings and email correspondence w/ M. Okin and other parties re: revisions to same (.5); Edit and file proposed cash collateral order (.2); Prepare for and
                          attend cash collateral hearing (1.1); Various meetings and email correspondence w/ M. Okin and other parties re: revisions to same after hearing (.7); Continue
                          revising proposed cash collateral order per comments received (.7); Call w/ M. Okin re: SBA revisions to cash collateral order (.2); Review and analyze email
B230   12/16/21 RAO       correspondence from D. Brickley re: adequate protection payments to Lender (.1); Review and analyze Lender’s notice of election to foreclose on property (.1);                  4     $400/hr       $1,600.00

B230   12/17/21 MSO       Review R. Kincheloe's threatening email and discuss with client (.3); finalize proposed order with other parties, review and approve notice of filing and file (.5)            0.8    $675/hr        $540.00
                          Review and analyze various email correspondence from parties re: revised cash collateral order (.4); Meetings w/ M. Okin re: same (.3); Draft notice of filing
                          revised proposed order (.4); Confer w/ M. Okin re: revisions to draft and file same (.2); Review email correspondence w/ Court re: order and hearing on same (.2);
B230   12/17/21 RAO       Review and analyze Court’s interim order on cash collateral and exchange various emails w/ working group re: same (.3);                                                        1.8    $400/hr        $720.00
B230   12/19/21 MSO       Review R. Kincheloe email to court and objection to use of cash collateral (.4); circulate to client with comments (.2)                                                        0.6    $675/hr        $405.00
                          Review and analyze email correspondence from SBA counsel and Court re: interim cash collateral order and request for hearing (.2); Review and analyze SBA’s
B230   12/19/21 RAO       objection to cash collateral and email correspondence from M. Okin re: issues for same (.4);                                                                                   0.6    $400/hr        $240.00
                          Review and analyze various email correspondence from M. Okin, R. Kincheloe, and Court re: SBA objection to cash collateral and hearing on same (.3); Review
B230   12/20/21 RAO       and analyze SBA’s objection (.4); Review and analyze various email M. Okin and D. Curry re: objection and UCC filing issues (.3);                                                1    $400/hr        $400.00
B230   12/22/21 RAO       Review and analyze SBA transcript request of cash collateral hearing and confer w/ M. Okin re: issues for same (.1);                                                           0.1    $400/hr         $40.00
                          Review and analyze various email correspondence and attachments from M. Okin, B. Roman, E. Seitz re: cash collateral budget, franchise fee payments, and
                          related issues (.5); Review and analyze email correspondence and attachments from M. Okin, D. Brickley and B. Roman re: CRO declaration in support of cash
B230   12/27/21   RAO     collateral order (.3);                                                                                                                                                         0.8    $400/hr        $320.00
B230   12/28/21   RAO     Review and analyze various email correspondence from M. Okin, B. Roman and D. Brickley re: CRO declaration and revisions for cash collateral issues (.3);                      0.3    $400/hr        $120.00
B230   12/29/21   MSO     Email discussion with E. Seitz regarding transition issues and use of cash                                                                                                     0.4    $675/hr        $270.00
B230   12/29/21   RAO     Review Court’s second interim order on cash collateral (.1);                                                                                                                   0.1    $400/hr         $40.00
                          Review and analyze various email correspondence from M. Okin, B. Roman and D. Brickley re: further revisions to CRO declaration and preparation for cash
B230   12/29/21 RAO       collateral hearing (.2); Review and analyze various email correspondence from M. Okin, E. Seitz and C. Gibbs re: cash collateral budget issues (.3);                           0.5    $400/hr        $200.00
                          Telephone conference with E. Seitz and C. Gibbs regarding use of cash and transition issues (.4); prepare for and participate in telephonic hearing on continued
B230   12/30/21 MSO       use of cash collateral (1.3); follow-up discussion with D. Brickley after hearing (.3)                                                                                           2    $675/hr       $1,350.00
B230   12/30/21 RAO       Attend status conference and hearing on cash collateral (1.1);                                                                                                                 1.1    $400/hr         $440.00
B230   12/31/21 MSO       Review lender email regarding starting bid price for hotel and forward to client (.2); review SBA notice of appeal and circulate (.2)                                          0.4    $675/hr         $270.00
                          Review and analyze email correspondence from C. Gibbs and M. Okin re: Lender foreclosure sale bid (.2); Review and analyze SBA’s notice of appeal of cash
B230   12/31/21 RAO       collateral order and email correspondence from M. Okin and D. Brickley re: same (.2);                                                                                       0.4       $400/hr        $160.00
B230   01/12/22 MSO       Telephone conference with E. Seitz regarding PIP issue and prior bank statements (.4); review statements and forward to E. Seitz (.2)                                       0.6       $675/hr        $405.00
                                                                                                                                                                                        TOTALS       49.7       $549/hr     $27,305.00
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                                                                                                   B240 -- Tax Issues


Code   Date      Staff   Description                                                                                                                                                      Hours         Rate      Billed Amount
B240    12/01/21 RAO     Review and analyze various email correspondence and attachments from D. Brickley and B. Roman re: tax issues for Cheryl Tyler affiliated entity (.2);                    0.2     $400/hr         $80.00
                                                                                                                                                                                 TOTALS           0.2    $400/hr          $80.00
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                                                                                             B310 -- Claims Administration


Code   Date        Staff   Description                                                                                                Hours         Rate      Billed Amount
B310    10/30/21   RAO     Review and analyze Lender's POC filed (.2);                                                                        0.2     $400/hr         $80.00
B310    11/01/21   RAO     Review and analyze Synchrony Bank proof of claim (.2);                                                             0.2     $400/hr         $80.00
B310    11/09/21   RAO     Review IHG proof of claim and exchange emails w/ B. Roman re: same (.3);                                           0.3     $400/hr        $120.00
B310    12/08/21   RAO     Review and analyze Harris County POC (.2);                                                                         0.2     $400/hr         $80.00
B310    01/05/22   RAO     Review and analyze SBA’s proof of claim (.3);                                                                      0.3     $400/hr        $120.00
                                                                                                                             TOTALS           1.2    $400/hr         $480.00
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                                                                E101 -- In House Copying


Code   Date       Description                                                                                 Quantity Rate     Billed Amount
COPY   10/31/21   Copies-October 2021                                                                                27     0.1          $2.70
COPY   11/30/21   Copies-November 2021                                                                               34     0.1          $3.40
COPY   12/31/21   Copies-December 2021                                                                               64     0.1          $6.40
                                                                                                       TOTALS      125      0.1         $12.50
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                                                               E106 -- Online Research


Code    Date        Description                                                                                   Billed Amount
PCR      09/30/21   PACER-September 2021                                                                                   $6.60
LEXIS    10/31/21   Lexis Nexis research-October 2021                                                                     $74.81
PCR      10/31/21   PACER charges-October 2021                                                                            $36.30
LEXIS    11/30/21   Lexis Research-November 2021                                                                          $32.43
PCR      11/30/21   PACER-November 2021                                                                                    $3.10
LEXIS    12/31/21   Lexis Nexis research-December 2021                                                                    $24.43
PCR      12/31/21   PACER-December 2021                                                                                   $14.30
                                                                                                           TOTALS        $191.97
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                                                             E108 -- Postage


Code   Date      Description                                                                                  Billed Amount
POST    10/31/21 Postage-October 2021                                                                                  $8.59
                                                                                                       TOTALS          $8.59
